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1 Vv. monitoring and oversight systems to support
2 timely implementation of interventions and
3 corrective actions and appropriate follow up;
4 ‘ and
5 c. Utilize, on an ongoing basis, appropriate
6 performance improvement mechanisms to assess and
7 address the facility's compliance with its
8 identified service goals.
9 3. Environmental Conditions
10 Each State Hospital shall develop and implement a
di system to review regularly all units and areas of the
12 hospital to which individuals being served have access to
13 identify any potential environmental safety hazards and to
14 develop and implement a plan to remedy any identified
15 issues, consistent with generally accepted professional
16 standards of care. Such a System shall require that:
17 a. Potential suicide hazards are identified and
18 prioritized for systematic corrective action, and
19 that such action is implemented on a priority basis
20 as promptly as feasible;
21 b. All areas of the hospital that are occupied by
22 individuals being served have adequate temperature
23 control and deviations shall be promptly corrected;
24 c. Each State Hospital reviews, revises, as
25 appropriate, and implements procedures and
26 “practices so that individuals who are incontinent
27 are assisted to change in a timely manner;
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d. Each State Hospital thoroughly reviews and revises,
as appropriate, its policy and practice regarding
sexual contact among individuals served at the

4 hospital. Each State Hospital shall establish
Clear guidelines regarding staff response to
reports of sexual contact and monitor staff
response to incidents. Each State Hospital
documents comprehensively therapeutic interventions
in the individual’s charts in response to instances
of sexual contact;

e. Each State Hospital develops and implements clear
guidelines stating the circumstances under which it
is appropriate to utilize staff who are not trained
to provide mental health services in addressing
incidents involving individuals. Each State
Hospital ensures that persons who are likely to
intervene in incidents are properly trained to work
with individuals with mental health concerns; and

f. Metropolitan State Hospital will institute roving
patrols of treatment units, except for the skilled
nursing facility, by Hospital Police Officers on a
schedule and frequency to be determined by the
hospital administration.

J. First Amendment and Due Process

Each State Hospital unconditionally permits individuals to
exercise théir constitutional rights of free speech, including
the right to petition the government for redress of grievances

without state monitoring and provides them due process.

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ENHANCEMENT PLAN - APPENDIX A

Triqger

Thresholds

Aggressive Act to Self

Any aggression to self resulting
in major injury*

2 or more aggressive acts to self
in 7 consecutive days

4 or more aggressive acts to self

in 30 consecutive days

Aggressive Act to Others

Any peer-to-peer aggression
resulting in major injury

Any aggression to staff resulting
in major injury

2 or more aggressive acts to
others in 7 consecutive days

4 or more aggressive acts to

others in 30

Alleged Abuse/ 3.

Neglect/Exploitation

Any alleged
abuse/neglect/exploitation if

minor** or major injury

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Body Weight

Body Mass Index (BMI) of 18.5 or
less (underweight)

Body Mass Index (BMI) between 25
and 29.9 (overweight)

Body Mass Index (BMI) between 30
and 34.9 (Obesity-Grade I)
Body Mass Index (BMI) between 35
and 39.9 (Obesity-Grade IT)
Body Mass Index (BMI) 40 or above
(Obesity-Grade IIT)

Weight Change + 5% in 1 month
Weight Change + 7.5% in 3 months
Weight Change + 10% in 6 months
Waist Circumference over 35” for

females or over 40” for males

“

Combined Pharmacotherapy

More than 2 intra-class
psychotropic medications for
psychiatric reasons

More than 3 inter-class
psychotropic medications for

psychiatric reasons

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Escape /AWOL

Any escape attempt /unauthorized
absence within facility

Any escape

attempt/unauthorized absence

outside of facility

Falls

Any fall resulting in major
injury
Three or more falls in 30

consecutive days

Tllicit Substances

Any incident of an individual
testing positive for illicit

substance (street drug) use

“

Medication Variance

(Error)

Any medication error that results
in major injury or exacerbation
of a disease or disorder (i.e.,
prescribing, transcribing,
ordering/procurement,
dispensing/storage,
administration, and

documentation)

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1

2 Mortality 10.1 Expected deaths

3 10.2 Unexpected deaths

4

5

Non~Adherence to 11.1 Non-adherence to WRP for more

° Wellness and Recovery than 20% of the interventions in
’ Plan (WRP) 7 consecutive days (Note: For

° children and adolescents: include
° non-attendance at school for more
* than 20% of the time in 7

tt consecutive days)
12
13

14 One-to-One Observations

12.

1:1 for psychiatric/behavioral

15 reasons over 24 hours in 7
16 consecutive days
7 12.2 Any 2:1 for
18 psychiatric/behavioral reasons
19
20

PRN Medications 13.1 2 PRNs in 24 hours (for
* psychiatric/behavioral reasons)
2 13.2 3 PRNs in 7 consecutive days
, 13.3 15 PRNs in 30 consecutive days
25
26
27
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1
2 Restraint 14.1 Restraint for more than 4 hours
3 for adults (Note: more than 4
4 hours for adolescents and 2 hours
5 for children)
6 14.2 More than 3 episodes of restraint
7 in 7 consecutive days
8 14.3 More than 5 episodes of restraint
9 in 30 consecutive days
10
11
Seclusion 15.1 Seclusion for more than 4 hours
* for adults (Note: more than 4
‘ hours for adolescents and 2 hours
‘4 for children)
15
15.2 More than 3 episodes of seclusion
re in 7 consecutive days
oT 15.3 More than 5 episodes of seclusion
v8 in 30 consecutive days
19
20
21 Stat Medications 16.1 2 Stat medications in 24 hours
22 16.2 3 Stat medications in 7
23 consecutive days
24 16.3 15 Stat med in 30 consecutive
25 days
26
27
28
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Suicide Attempt 17.1 Any suicide attempt

17.2 Any suicide threat or ideations

* A-major injury is an injury that requires treatment of more
than basic first aid by medical personnel or any injury resulting
from alleged or suspected abuse or any injury judged to have
potential for serious harm.

** A minor injury is any injury, other than an injury caused by
alleged or suspected abuse, that requires no treatment or only
minor first aid and for which the potential for serious harm is

judged to have been remote.

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PART II
ENFORCEMENT

A. Selection of Monitor

Mohamed El-Sabaawi, M.D. shall be appointed as the expert to
monitor the State's implementation of this Agreement (the
"Monitor"). The Monitor shall have full authority to assess,
review, and report independently on the Defendants'
implementation of and compliance with the provisions of the
Agreement. No Party, nor any employee or agent of any Party,
shall have any supervisory authority over the Monitor's
activities, reports, findings, or recommendations. In the event
that Dr. El-Sabaawi is unable to serve or continue serving as the
Monitor, or in the event that the Parties for any reason agree to
discontinue the use of Dr. El-Sabaawi, the Parties shall meet or
otherwise confer within thirty (30) days of being notified of the
incapacity or the decision to discontinue use of Dr. El-Sabaawi
to select a new Monitor. If the Parties are unable to agree upon
a selection, each Party shall submit two names, along with
resumes or curricula vitae and cost proposals, to the Court and
the Court shall appoint the Monitor from among the names
submitted. The procedure described in this paragraph shall apply
to all successor Monitors. The Parties agree that the Monitor
May use consultants to assist the Monitor. Any such consultants
shall be paid for time, services, and expenses pursuant to the
Monitor’s existing budget. In collaboration with the Monitor,
the Parties shall meet or otherwise confer whenever necessary to
agree upon which particular consultant(s) the Monitor shall use

to assist the Monitor in his duties as Monitor.

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B. Budget of the Monitor
The Parties and the Monitor have agreed upon the annual
budget for the Monitor's work.

Cc. » Reimbursement and Payment Provisions

1.

The cost of the Monitor, including the cost of any
consultant to assist the Monitor, shall be borne by the
State in this action. All reasonable expenses incurred
by the Monitor or any consultant, in the course of the
performance of the duties of the Monitor, pursuant to
the budget of the Monitor, shall be reimbursed by the
State. The United States will bear its own expenses in
this matter.

The Monitor shall submit monthly invoices to the
Defendants, with a copy to the United States, detailing
all expenses the Monitor incurred during the prior
month. These invoices shall include daily records of
time spent and expenses incurred, and shall include
copies of any supporting documentation, including
receipts. The Defendants agrees to pay each month's
invoice in full from the Monitor within thirty (30)
days of receipt of the monthly invoice from the
Monitor. If the Defendants dispute all or part of the
invoice, the Defendants shall notify in writing the
Monitor and the United States within ten days of
receipt of the Monitor's monthly invoice. The Monitor,
the Defendants and the United States will endeavor to
resolve any invoice disputes promptly and in good

faith. Where the Monitor and the Parties are unable to

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resolve any invoice dispute, the Monitor and/or the

Parties may petition the Court to resolve the dispute.

Responsibilities and Powers of the Monitor

The overall duties of the Monitor shall be to observe,
review, report findings, and make recommendations,
where appropriate, with regard to the implementation of
the foregoing Enhancement Plan at the State Hospitals.
The Monitor shall regularly review the therapeutic and
rehabilitation services provided to individuals to
determine the Defendants' implementation of and
compliance with this Consent Judgment. During the
Monitor's review, the Monitor shall have full and
complete access to all of the State Hospitals'
buildings and facilities, staff, patients, patient
records, documentation, and information relating to the
issues addressed in this Consent Judgment. The State
Hospitals' Executive Directors shall direct all
employees to cooperate fully with the Monitor. The
Monitor shall be permitted to initiate and receive ex
parte communications with the Parties. The Monitor
shall devote such time as is necessary to fulfill the
purposes of the duties and responsibilities of the
Monitor pursuant to this Consent Judgment ._

The Monitor shall consult with the Parties and shall
submit a written plan with regard to the methodologies
to be used by the Monitor to assess the Defendants'
compliance with and implementation of the Consent

Judgment. The Monitor's evaluation shall include:

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regular on-site inspection of the State Hospitals'
facilities and programs for patients, interviews with
administrators, professional and other staff,
contractors, and patients, and detailed review of
pertinent documents and patient records. The Parties
envision that the Monitor may provide specific
recommendations to the Defendants with regard to steps
to be taken to come into compliance with the Consent
Judgment. However, the Defendants retain the
discretion to achieve compliance by any legal means
available to them, and may choose to utilize methods
other than those that may be proposed by the Monitor or
the United States. The Monitor shall not be empowered
to direct the Defendants to take, or to refrain from
taking, any specific action to achieve compliance with
the Consent Judgment. The Parties do not intend for
the Monitor to have the role of a "Special Master."
The Agreement is the product of two governmental
agencies exercising their expertise.

In any instance in which either party disagrees as to
compliance, the Court shall give appropriate deference
to the Monitor’s assessment of compliance.

The Parties envision that the United States and the
Monitor shall conduct a "baseline" evaluation of the
Defendants' compliance with the terms of this Consent
Judgment at the State Hospitals within the first 180
days after the filing of this Consent Judgment. This

initial baseline evaluation is intended to inform the

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Parties and the Monitor of the status of compliance
with this Enhancement Plan. The Monitor shall produce
a written report to the Parties with regard to the
State's compliance with particular provisions of the
Consent Judgment as soon as possible, but at least
within 60 days of each visit.

Following the baseline tour, the Monitor shall conduct
subsequent tours of each State Hospital at least
semi-annually, upon reasonable notice to the State
Hospital, in order to fulfill his or her obligations
pursuant to this Consent Judgment. In connection with
the baseline tours, the Parties and the Monitor shall
attempt to agree upon a schedule of subsequent tours
and reports for the upcoming year, to be repeated
annually thereafter.

The Monitor shall provide the Parties with a written
report as soon as possible, but at least within 60 days
of each tour and shall detail with as much specificity
as possible how the State is or is not in compliance
with particular provisions of the Consent Judgment.
Drafts of the Monitor's reports shall be provided to
the Parties for comment at least ten (10) business days
prior to issuance of the reports. Upon the achievement
of eighteen (18) months of substantial compliance with
any substantive paragraph(s) of this Agreement, no

further reporting shall be required on that paragraph.

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The Defendants shall notify the Monitor immediately
upon the death of any current State Hospital patient,
including any person who died following transfer due to
medical condition from a State Hospital to another
medical facility. The Defendants shall forward to the
Monitor copies of any completed incident reports
related to deaths, autopsies and/or death summaries of
residents, as well as all final reports of
investigations that involve State Hospital patients.
The Defendants shall also notify the Monitor
immediately if they receive a citation or threat to
de~certify a State Hospital from the Centers for

Medicaid and Medicare Services.

E. The United States' Access to Information and the State

Hospitals

1.

The United States shall have full access to, and shall,
upon request, receive copies of any documents, records,
databases, and information relating to the
implementation of this Consent Judgment. The
Defendants shall provide any requested documents,
records, databases, and information to the United
States as soon as possible, but no later than within
thirty (30) business days of the request, or within a
time frame negotiated by the parties if the volume of
requested material is too great to reasonably produce
within thirty days. The United States, upon reasonable
notice, shall have full access to all of the State

Hospitals' buildings and facilities, staff, patients,

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patients' records, documentation, and information

relating to the issues addressed in this Consent

Judgment. The State Hospitals’ Executive Directors

o shall direct all employees to cooperate fully with the

United States. The United States may receive and

respond to unsolicited calls or contacts from State

personnel outside the presence of State

representatives.

PART III.
MODIFICATION OF TERMS
A. If the Parties reach a subsequent agreement that varies from
the Plan, the new agreement shall be reduced to writing, signed,
and filed with the Court for approval.
PART IV
COMPLIANCE AND TERMINATION

A. The purpose of this Consent Judgment is that the Defendants
will be able to achieve desired outcomes for and provide the
necessary protections, supports, and services to the
individuals served by the State Hospitals. All of the terms of
the Plan set forth in Part I hereof shall be implemented at the
State Hospitals within 36 months of the Enhancement Plan's
effective date, except that § I.3 of the Plan and all provisions
of the Plan having to do with suicide prevention measures: shall
be implemented at the State Hospitals upon the effective date of
this Consent Judgment. This Consent Judgment will be terminated
and the case dismissed five (5) years after the effective date of
the Consent Judgment. This Consent Judgment may terminate at an

earlier date if the Parties agree that the Defendants are in

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1 |lsubstantial compliance with each provision of the Consent

2 Judgment, and the State has maintained compliance for at least

3 leighteen (18) months ("maintained sustained compliance"). If

4 Defendants and the Monitor contend that the Defendants have

5 maintained sustained compliance and the United States disagrees,
6 |Defendants may move this Court for an order terminating this

7 Consent Judgment. In any instance in which the parties disagree
8 as to compliance, the Court shall give appropriate deference to

9 the Monitor's assessment of compliance. Noncompliance with mere
10 technicalities, or temporary failure to comply during a period of
11 otherwise sustained compliance shall not constitute failure to
12 maintain substantial compliance. At the same time, temporary
13 |jcompliance during a period of sustained noncompliance shall not
14 constitute substantial compliance.

15 |B. At all times, the State shall comply with applicable federal
16 fand state licensing requirements.

17 4c. If the United States maintains that the Defendants have

18 failed to carry out any requirement of this Consent Judgment, the
19 United States shall notify the Defendants with specificity of any
20 flinstance(s) in which it maintains that the Defendants have failed
21 |jto carry out the requirements of this Consent Judgment.
22 IID. With the exception of conditions or practices that pose an
23 jlimmediate and serious threat to the life, health, or safety of
24 individuals served by the State Hospitals, the Defendants shall
25 have thirty (30) days from the date of a deficiency notice from
26 |ithe United’ States to cure the claim of noncompliance. During
27 this period, the Parties shall coordinate and shall discuss areas

28 jof disagreement and attempt to resolve outstanding differences.

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E. Unless specified to the contrary elsewhere herein, in any
compliance or other adversarial hearing prior to final dismissal
of this action, the burden of proof will be on the Party moving
the. Court.

F. All provisions of this Consent Judgment shall have ongoing
effect until the final dismissal of this action. The Court shall
retain jurisdiction for all purposes until such time as this
action dismissed. Independent of the foregoing, if the United
States and the Defendants agree that the State Hospitals have
achieved substantial compliance with each section of this Consent
Judgment, the Parties shall file a joint motion to dismiss this
action.

G. This case shall be treated administratively as inactive.
However, the Court retains jurisdiction to enforce the terms of

this Order.

DATED: This day of , 2006.

UNITED STATES DISTRICT JUDGE

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APPROVED AS TO FORM AND CONTENT:

w NY

HANETTA Y, CUTLAR
Chief, Special Litigation Section

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13
14

15 [Trial Attorneys .
United States Department of Justice
16 [Civil Rights Division

rt | ee

19 IDEB W. YANG

United States Attorney

20 [LEON W. WEIDMAN

Assistant United States Attorney
Chief, Civil Division

GARY L. PLESSMAN

Assistant United States Attorney
Chief, Civil Fraud Section

23 WHOWARD DANIELS (CA Bar No. 081764)
Assistant United States Attorney

ai

22

24 300 North Los Angeles Street
Federal Building, Room 7516
25 Los Angeles, CA 90012
(213) 894-4024 -
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KIMBERLY BELSHE

Secretary, State of California
Health and Human Services Agency
State of California

Health and Human Services Agency
1600 Ninth Street, Room 460
Sacramento, CA ‘95814

wh

F S fj FURTEK

Chi Counsel, State of California
Health and Human Services Agency
1600 9™ Street, Room 460
Sacramento, CA 95814

STEPHEN ca tor Nf
Director, CaWfornia\Depa ent
Of Mental Heakyh

California Department
1600 9™ Street

Sacramento, CA 95814

Office of Legal Services

California Department of Mental Health
1600 9% Street, Room 153

Sacramento, CA 95814

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Ln .
CYNTHIA RODRIGUEZ OT
Chief Counsel, Californg#a Department of Mental Health

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